           IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,              )
                                       )
                      Plaintiff,       )
                                       )
     vs.                               )     No. 13-03060-01-CR-S-BCW
                                       )
TRAVIS E. BUTCHEE,                     )
                                       )
                      Defendant.       )


                      REPORT AND RECOMMENDATION
                      CONCERNING PLEA OF GUILTY


     The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Counts One and Thirteen and admitted to

Forfeiture Allegation contained in the Superseding Indictment filed

on August 27, 2013.    After cautioning and examining the Defendant

under oath concerning each of the subjects mentioned in Rule 11, I

determined that the guilty pleas were knowledgeable and voluntary,

and that the offenses charged are supported by a factual basis for

each of the essential elements of the offense.      I therefore recommend

that the pleas of guilty be accepted and that the Defendant be

adjudged guilty and have sentence imposed accordingly.



Date: October 15, 2013                  /s/ David P. Rush
                                       DAVID P. RUSH
                                       UNITED STATES MAGISTRATE JUDGE




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                                 NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




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